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 6   Advisory and Standby Counsel for Defendant
 7   KEVIN HAWKINS
 8
 9                      IN THE UNITED STATES DISTRICT COURT FOR THE
10                                 EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,
                                                                 CR.S. No. 2:10-CR-00458 JAM
13                                     Plaintiff,
14                                                               UNOPPOSED MOTION FOR PRO SE
                         v.                                      DEFENDANT KEVIN HAWKINS TO
15                                                               UTILIZE ELECTRONIC FILING VIA
16   KEVIN HAWKINS,                                              CM/ECF AND ORDER
17                                    Defendant.
18
19                                                       MOTION
20
21              Kevin Hawkins is a pro se litigant in this case. He is respectfully requesting the

22   court to allow him to utilize electronic filing. According to the Court’s website, “any

23   person appearing pro se may not utilize electronic filing except with the permission of the

24   assigned judge…” 1Mr. Hawkins wishes to utilize electronic filing to avoid the delays

25   caused by the use of the U.S. Mail, and the delays caused by having to drive to the court

26   house and deposit his filings into the clerk’s drop box.                        He has experience utilize

27
28   1
         www.caed.uscourts.gov/caednew/index.cfm/cmecf-e-filing/representing-yourself-pro-se-litigant/




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              Case 2:10-cr-00458-JAM Document 534 Filed 05/28/20 Page 2 of 2


 1   CM/ECF systems as he is authorized to utilize electronic filing in the Ninth Circuit. For
 2   example, please see case number 18-10286, ECF No. 22.
 3   03/26/2019 22 Filed (ECF) Appellant Mr. Kevin T. Hawkins Amended Motion for miscellaneous relief

 4                   [Motion to correct erroneously filed document]. Date of service: 03/26/2019. [11243278]

 5                   [18-10286] --[COURT UPDATE: Attached corrected motion (included signature).

 6                   3/29/2019 by TYL] (Hawkins, Kevin) [Entered: 03/26/2019 10:19 PM]

 7
 8
             This motion is unopposed by the government. Therefore, it is respectfully
 9
     requested that the Court grant Mr. Hawkins permission to utilize electronic filing in this
10
     case.
11
12
13
                                                                   Respectfully submitted,
14
15
     Dated: May 27, 2020                                           /s/ David D. Fischer
16                                                                 DAVID D. FISCHER
17                                                                 Advisory and Standby
                                                                   Counsel for Defendant
18                                                                 KEVIN HAWKINS
19
20           IT IS SO ORDERED
21
22
23
     Dated: 5/27/2020                              /s/ John A. Mendez______________
24                                                 HON. JOHN A. MENDEZ
25                                                 U.S. District Court Judge

26
27
28



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